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AO 245]3 {Rcv. 09/11)}udgment in a Criminal Case
Sheet l

 

UNITED STATES DISTRICT COURT

Southern District ofNeW Ycrk

 

 

 

 

 

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
v- )
STEVEN HART § C@.Se Number: i;is-cR.~coos¢i-ooi (KPF)
§ USM Number; 71 ses-054
) Kevin R. Puva|owski, Esq. & Jeffrey T. Kerri, Esq.
Defendant’s Attomey

’I`I~IE DEFENDANT:

l§{pleaded guilty to count(s) One and TWo.

l:i pleaded nolo contendere to count(s)

which was accepted by the court.

|:\ was found guilty on count(s)

after a plea of not guilty

rl`he defendant is adjudicated guilty of these offenses:

Title & Section Natnre of Offense Offense Ended Count
18USC'1505 Obstruction of justice. 12/31!2009 One.
18USC1621 Perjury. 8/19/2009 Two.

The defendant is sentenced as provided in pages 2 through 6 of this judgmentl The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

ij The defendant has been found not guilty on count(s)

|:l Count(s) |:| is |:] are dismissed on the motion of the United States.

 

_ _ It is ordered t_hat the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until_all tines, restitution,.costs, and special assessments imposed by this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

8/6/2015

Date of lmposi`tion of Judgmenl

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Signature ofli:dge

    
 

Hon. Katherine Polk Fai|fa U.S.D.J.
Name and Title of.ladge

 

 

8!7,'20'15
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AO 2453 (Rev‘ 09/11} Judgment in Criminal Case
Slicet 2 j llnprisonmciit

 

 

ludgment_ Page 2 of
DEFENDANT; S`|'EVEN HART
CASE NUMBER: lZlS-CR.-OOOB¢i-OOi (KPF)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Four (4) months imprisonment to run concurrently on each of Counts One and TWo for a total term of four (4) months
imprisonment

g Thc court makes the following recommendations to the Bureau of Prisons:

lt is recommended that the defendant be designated to a facility close to the NeW York metropolitan area

|:I The defendant is remanded to the custody of the United States Marshal.

|:i The defendant shall surrender to the United States Marshal for this district:
|:| at I:l a.m. [] p.m. on
I:l as notified by the United States l\/larshal.

 

§§ The defendant Shall SuiTender for service of sentence at the institution designated by the Bureau of Prisons:

g before 2 p.m. on 11/6/20'|5

CI as notified by the United States Mai'shal.

 

ij as notified by the Probation oi' Pretrial Services Off`ice.

 

 

 

RETURN
l have executed this judgment as follows:
Defendant deii\ ered on to
a , with a certified copy of this judgmentl
UNlTED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

Case 1:15-cr-00084-KPF Document 15 Filed 08/07/15 Page 3 of 6

AO 245B (Rev. 09/11) Judgn‘ient in a Crim`inal Case
Sheet 3 j Supervised Release

 

 

Judgment_Page 3 of 6
DEFENDANT: STEVEN HART _ _”"“i
CASE NUMBER: 1215-OR.-OOOBd-OO'I(KPF)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Two (2) years

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime

The defendant shall not unlawfully possess a controlled substancel The defendant shall refrain from any unlawful use of a controlled
substance The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the courtl

g The above drug testing condition is suspendcd, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable )

The defendant shall not possess a firearm, aniinunition, destructive device, or any other dangerous weaponl (Check, r'fapp!icab!e.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. rCheck, yapplicable.)

Em§

The defendant shall comply with the re uirements of the Sex Offender Registration and.Noti_f`rcation Act (42 U.S.C. § 16901, er seq.)
as directed by the probation officer, the ui'eai_i of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense (Chect, yapplicabie.)

|:l The defendant shall participate in an approved program for domestic violence (Check, Japplicable.)

If this judgment imposes a_f`ine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payrnents sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow die instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons encrag_ed in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by thc probation officer;

lO) the defendant shall permit a_ probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement oft'icer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

l3) as directed by the probation officer, the defendant shall notify_third parties _ofrisks that may be occasioned by the defendant’s criminal
record or ersona _ history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement

(Rev_09,11)]1§§,§§h1étt§gclgi-QFQQS4-KPF Document 15 Filed 08/07/15 Page40f6

Sheet 3C _ Supervised Release

AO 2453

Ju dgmentiPage 4 of 5

DEFENDANT: STEVEN HART
CASE NUMBER: 1215-CR.-00084-001(KPF)

SPECIAL CONDITIONS OF SUPERVISION

1- The defendant shall provide the probation officer with access to any requested financial information

2- The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer unless the defendant is in compliance with the installment payment schedule

3- The defendant shall be supervised by the District of his residence

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Sheet 5 -~ Criminal Monelary Penaltics

 

 

Judgment j Page 5 Of _B_
DEFENDANT: STEVEN HART
CASE NUMBER; 'l!l 5-CR.-OUOB4-DU“\ (KPF)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessrnent Fine Restitution
TOTAI_.S $ 200.00 $ $
l:l The determination of restitution is deferred until . An Amended Judgmerii in a Cri`mi`nai Case (AO 245€) will be entered

after such determination
|:| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment1 each pa%ee shall receive an approximately I“pro ortioned .ayment, unless specified otherwise in
the priority order or percentage payment column elow, However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

 

 

Naine of Payee Total Loss* Restitution Ordered Prioritv or Perceritage
TOTALS $ _O-OO 3 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,50(), unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

|:| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|:l the interest requirement is waived for the |:l fine l:l restitution

|:| the interest requirement for the [:| fine |:l restitution is modified as follows:

* Findings for the total amount of losses are re%uired under Chapters 109A, llO, llOA, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199 .

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Sheet 6 _ Sc|iedule of Payments

 

 

Judgment_ Page 6 of 6
DEFENDANT.' STEVEN HART
CASE NUMBER: 1215-CR.-OOOB4-001(KPF)

SCHEDULE OF PAYMENTS
l-Iaving assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A |J Lump sum payment of 33 200-00 due immediately, balance due

§ not laterthan ,or
§ in accordance § C, § D, § E,or § Fbelow; or

B § Payment to begin immediately (may be combined with § C, § D, or § F below); or

C § Payment in equal (e.g., week[y, monthly, quorrer!y) installments of $ over a period of
(e.g., months or yeni's), to commence (e.gi, 30 or 60 days) after the date of this judgment; or

D § Payment in equal (e.g., weekly, nronrnly, quarrer!y) installments of $ over a period of
(e.g., months or years), to commence (e.gi, 30 or 60 days) after release from imprisonment to a

term of supervision; or

E § Payment during the term of supervised release will commence within (e.g., 30 or 60 doys) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F § Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwis_e, if this judgment imposes imprisonment, lpayment of criminal monetary penalties is due during
imprisonment All criminal moneta penalties, except those payments made throug the Federal Bureau of Pi'isons’ inmate Financia
Responsibility Program, are made tot e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetaiy penalties imposed

l:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (i‘nc!ndi‘ng defendant namoer), 'l`otal Amount, Joint and Several Amount,
and corresponding payee, if appropriate

|:\ The defendant shall pay the cost of prosecution
|:l The defendant shall pay the following court cost(s):

|:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _thc following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principalJ
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

